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                       PREPARATION FOR CRIMINAL TRIAL

BEFORE THE HONORABLE KEA W. RIGGS

A.   AUDIO-VISUAL EQUIPMENT

     Parties should notify the Court at least two weeks in advance of trial if they require
     audio-visual or other special equipment. Parties are responsible for operating any of this
     equipment.

B.   WITNESSES AND EXHIBITS:

     1.      Rule 404(b) or Rule 609(b) evidence: The Government will provide Defendant
     notice of potential Rule 404(b) or Rule 609(b) evidence not less than TWO (2) WEEKS
     in advance of trial.

     2.     Exchange of EXHIBIT AND WITNESS LISTS: Counsel shall exchange and file
     with the Court witness and exhibit lists TWO (2) WEEKS prior to trial.

     3.       REQUIRED FORMAT FOR EXHIBIT LISTS, NON-ELECTRONIC: When
     filing their final exhibit lists with the Court prior to trial, parties shall use the format
     included at the end of this document. Exhibits shall be marked and identified clearly for
     each party. Use of exhibit notebooks (Plaintiff’s and Defendant’s) are encouraged for
     those exhibits to which neither party has objections. Exhibits shall be marked and
     identified (Plaintiff's by numbers and Defendant's by letters, e.g., A,B,C, . . . AA, AB,
     AC).


     4.     REQUIRED FORMAT FOR EXHIBIT LISTS, ELECTRONIC: In addition to
     the requirements set out in #3 pertaining to exhibits, exhibits also need to be submitted in
     electronic format. Refer to attached JERS Informational letter, along with Attorney
     Guide to JERS for instructions on how to submit electronically formatted trial exhibits to
     the Court.

C.   SCHEDULING ORDERS:

     Parties shall immediately notify the Court of matters that will require additional
     preparation time, such as the intent to introduce expert testimony or co-conspirator
     testimony, so that the Court may allow sufficient time to address potential Daubert
     challenges and to hold James hearings. Upon such notification by a party, the Court will
     hold a scheduling conference to consider deadlines for these issues.
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D.   NON-JURY TRIALS

     PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW shall be filed at
     least TWO (2) WEEKS prior to trial, with references to exhibits and proposed
     testimony.

E.   JURY TRIALS:

     1.     JURY INSTRUCTIONS:

            a.      Parties shall meet and confer in advance of the deadline to agree on as
            many instructions as possible. Parties shall be prepared to submit a legal basis for
            their objections to each instruction on which they do not agree. Parties are
            expected to AGREE ON STOCK INSTRUCTIONS AND AVOID
            SUBMITTING TO THE COURT SEPARATE REQUESTS FOR THE SAME
            STOCK INSTRUCTIONS.

            b.      Proposed instructions shall be numbered and annotated. Submit no
            more than ONE INSTRUCTION PER PAGE. Refer to the Court’s external
            website in order access Judge Riggs’ trial preparation materials:
            www.nmcourt.fed.us. Parties should refer to Tenth Circuit Criminal Pattern
            instructions.

            c.      Submission of proposed instructions to the Court is a two-step process:

                    (1) E-filing: Proposed instructions shall be filed with the Court
                    electronically, in accordance with D.N.M. LR-Civ. 5.1 at least TWO (2)
                    WEEKS BEFORE TRIAL is scheduled.

                    (2) E-mail: In addition to electronically filing their submissions regarding
                    jury instructions, both parties shall submit to the Court through the e-mail
                    address (riggsproposedtext@nmd.uscourts.gov), the following, in WORD
                    format:

                    (A) the requested jury instructions; and
                    (B) proposed special verdict forms and
                    (C) the parties’ Joint Statement of the Case.

     NOTE: JOINT STATEMENT OF THE CASE shall be submitted at the same time the
     jury instructions are submitted (TWO WEEKS BEFORE TRIAL), but should be filed
     separately. If parties cannot agree on a Joint Statement of the Case, parties should submit
     separate proposed Statements.

     2.     MOTIONS IN LIMINE: shall be filed no later than TWO (2) WEEKS before
            trial. Responses are due ONE (1) WEEK before trial. If a motion in limine is
            filed earlier than 14 days before trial, the response is due five (5) days after the


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      motion is served. Replies to motions in limine will not be entertained unless
      specifically requested and allowed.

3.    VOIR DIRE: In the average case, each counsel will be permitted TEN (10)
      minutes to voir dire the venire panel. Do not argue the case or cite legal
      principles in your voir dire. Requested voir dire shall be exchanged between
      counsel and shall be filed with the Court at least TWO (2) WEEKS prior to
      trial. If counsel cannot agree on proposed voir dire, any objections must be
      brought to the Court's attention at least ONE (1) WEEK prior to trial.




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                                             WITNESS/EXHIBIT LIST

                                                                                     CV/CR


Plaintiff’s Attorney:                          Defendant’s Attorney:                 United States District Court

                                                                                     District of New Mexico


                                                                                     Trial Date(s):


Presiding Judge: Kea W. Riggs                  Court Reporter: J. Goehl              Courtroom Deputy: C. Bevel




Pltf     Deft

No.      No.      Witness       Date Off.   Obj.   Adm.                   Description of Exhibits*




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                                 INFORMATIONAL LETTER



Dear Counsel:

The United States District Court for the District of New Mexico has installed new equipment
into some courtrooms for use during trials in which jurors may view evidence electronically
during deliberation. The newly installed equipment is known as JERS (Jury Evidence Recording
System). The Western District of North Carolina created JERS for the purpose of electronically
capturing evidence during a trial and then allowing a jury to view the evidence on a monitor in
the Jury Deliberation Room. The District of New Mexico has been working to customize and
test the equipment for the benefit of our court and our jurors. We would like to use JERS during
the upcoming trial in your case.


The use of JERs will not affect how you present your case. You will proceed in normal course
by presenting the exhibits/evidence either in paper form or from your laptop. All that the Court
requires is the submission of the exhibits/evidence on an electronic storage device (CD, DVD or
USB drive) TEN (10) calendar days before trial. The evidence is then imported into JERS and
stored until the conclusion of the trial, when evidence is submitted to the jurors for deliberation.


It is important to note that, similar to non-electronic evidence, only electronic evidence that is
admitted and allowed by the Court will be viewable by jurors during deliberation. Included with
this letter is a copy of the Attorney Guide to JERS, where instructions are provided as to the
formatting and naming of files. When creating the Indexed File Method, it is important that you
follow the exact method as provided in the Attorney Guide – for instance, no spaces, and bars
must be placed as shown.


It is the goal of the Court to provide attorneys with useful and effective equipment. It is the
assistance from attorneys, such as you, that helps us achieve these goals.




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                ATTORNEY GUIDE TO JERS


The U.S. District Court for the District of New Mexico uses the Jury Evidence Recording
System (JERS) to capture evidence electronically during a hearing/trial. The evidence may
then be electronically viewed by jurors in a jury deliberation room at a later time.

How to Submit Electronic Exhibit Files
Electronic evidence files should be provided on any one of the following acceptable media
storage devices:
        USB drive
       DVD
       CD
Media storage devices are to be placed in a sealed envelope with the name of the CRD or
chambers’ staff clearly written on the outside of the envelope, and hand delivered to the
Clerk’s Office or mailed to the Clerk’s Office if counsel resides out of town.

Requirements for Exhibit File Types
All electronic evidence will be provided using the following formats:
       Documents and Photographs: .pdf ; .jpg ; .bmp ; .tif ; .gif
       Video and Audio Recordings: .avi ; .wmv ; .mpg ; .mp3 ; .mp4 ; .wma ; .wav
Regarding the file size of electronic evidence, individual files should not exceed 500MB.
Exhibits approaching or exceeding this size limit should be separated into multiple files.
      NOTE: A ‘PDF’ document can often be reduced significantly in size by using tools such as
      Adobe’s “Reduce File Size” feature. Images can be significantly reduced in file size by
      lowering the resolution or dimensions, usually with minimal affect to viewing quality.

Exhibit Formatting Instructions for Batch Importing
Exhibit files will be formatted in a manner that permits them to be batch imported into
JERS. Use the following File Naming Method for your exhibits.


   FILE NAMING METHOD (See File Naming Method Examples on the last page)
   a) All files are provided on a single storage device such as a CD, DVD, or USB drive.
   b) Using any software or method, exhibit files are named using a naming convention
      similar to:
      (exhibit number)‐(exhibit part)_(exhibit description).(file extension)



                                                           Attorney Guide to JERS Rev 04/2016
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   c) The use of the ‘underscore’ character is required before the description of the
      exhibit and cannot be used elsewhere in the exhibit name.


Attorney Responsibilities
1. It is the responsibility of the attorney to ensure that exhibits are submitted to the Court
   in a prompt and timely manner, in true proper format, and in accordance with the
   court’s trial preparation instructions or other direction from chambers.
2. The CRD or a member of chambers’ staff will notify attorneys of any exhibit(s) that
   cannot be imported into JERS from the media storage device provided by the attorney.
   Attorneys will need to resubmit all problematic exhibits as directed by the CRD or a
   member of chambers’ staff.
3. While evidence is provided to the court to import files in JERS in advance of a
   hearing/trial, attorneys will continue to remain responsible for maintaining and
   presenting all evidence during the hearing/trial. As such, the Court will require
   attorneys to test their laptop and any other equipment attorneys may need, a few days
   prior to the beginning of a court hearing/trial.
     a) Attorneys may contact the CRD to schedule time to test equipment in the
        courtroom.
     b) Unfortunately, it may not be possible to test laptops or other necessary equipment
        the day a hearing/trial is scheduled to begin. Resolving technical issues
        beforehand will ensure a speedy and technically efficient hearing/trial for all
        parties.




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                        FILE NAMING METHOD EXAMPLES


1_Hotel Reciept.pdf

2_Photograph of Bank Interior.jpg

3_Video of Car Explosion.mpg

4_Police Radio.wav

5‐a_Photograph of Exterior Burning House.jpg

5b_Police Car Chase Video.mpg

6(c)_Photograph of Cell Phone.jpg

6(d)_Photograph of Damaged Cell Phone.jpg




                                          3
